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                      UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                     No. 2:12-md-02323-AB
INJURY LITIGATION                              MDL No. 2323


Kevin Turner and Shawn Wooden,
on behalf of themselves and                           Civil Action No. 2:14-cv-00029-
AB
others similarly situated,

      Plaintiffs,

        v.

National Football League and
NFL Properties, LLC,
Successor-in-interest to
NFL Properties, Inc.,

      Defendant.


THIS DOCUMENT RELATES TO:
ALL ACTIONS



 (PROPOSED) ORDER DENYING OBJECTORS’ PETITION FOR AN AWARD
               OF ATTORNEY FEES AND EXPENSES

      AND NOW, this _________ day of _____________________ , 2017, it is ORDERED:

      1. After consideration of the Mitnick Clients’ Objection to Objectors’ Petition for

         an Award of Attorneys’ Fees and Expenses, the Petition is DENIED.

      2. The request for an award of attorneys’ fees and expenses does not meet the

         requirements of Federal Rules of Civil Procedure 23(h) and 54(d)(2).



                                        _______________________________________
                                        ANITA B. BRODY, J.
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